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 7

 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10

11                                           Case No.
     JAMES SHAYLER, an individual,
12                                           Complaint For Damages And
13                    Plaintiff,             Injunctive Relief For:

14   v.                                       1. VIOLATIONS OF THE
15                                               AMERICANS WITH DISABILITIES
                                                 ACT OF 1990, 42 U.S.C. §12181 et
16   ARLAK, INC., a California                   seq. as amended by the ADA
     corporation; and DOES 1-10,                 Amendments Act of 2008 (P.L. 110-
17
     inclusive,                                  325).
18

19                   Defendants.              2. VIOLATIONS OF THE UNRUH
                                                 CIVIL RIGHTS ACT, CALIFORNIA
20                                               CIVIL CODE § 51 et seq.
21

22         Plaintiff, JAMES SHAYLER (“Plaintiff”), complains of Defendant ARLAK,
23   INC., a California corporation; and Does 1-10 (“Defendants”) and alleges as
24   follows:
25                                         PARTIES
26         1.     Plaintiff’s musculoskeletal, neurological and cardiovascular systems are
27   impaired. As a result of these impairments Plaintiff is substantially limited in
28   performing one or more major life activities, including but not limited to: walking,

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 1   standing, and ambulating. As a result of his impairments, Plaintiff often relies upon
 2   mobility devices to ambulate. With such disabilities, Plaintiff qualifies as a member
 3   of a protected class under the Americans with Disabilities Act, 42 U.S.C. §12102(2)
 4   as amended by the ADA Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the
 5   regulations implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the
 6   time of Plaintiff’s visits to Defendants’ facility and prior to instituting this action,
 7   Plaintiff suffered from a “qualified disability” under the ADA, including those set
 8   forth in this paragraph. Plaintiff is also the holder of a Disabled Person Parking
 9   Placard.
10         2.     Plaintiff is informed and believes and thereon alleges that Defendant
11   ARLAK, INC., a California corporation, owned the property located at 2309
12   Foothill Blvd., La Canada Flintridge, CA 91011 (“Property”) on or around
13   December 27, 2020 upon which Myung Ga Haejanggvuk (“Business”) is located.
14         3.     Plaintiff is informed and believes and thereon alleges that Defendant
15   ARLAK, INC., a California corporation, currently owns the Property.
16         4.     The Business is a restaurant open to the public, which is a “place of
17   public accommodation” as that term is defined by 42 U.S.C. § 12181(7).
18         5.     Plaintiff does not know the true name of DOE Defendants, that may be
19   related to the Business and/or Property. Plaintiff is informed and believes that each
20   of the Defendants herein, including Does 1 through 10, inclusive, is responsible in
21   some capacity for the events herein alleged. Plaintiff will seek leave to amend when
22   the true names, capacities, connections, and responsibilities of the Defendants and
23   Does 1 through 10, inclusive, are ascertained.
24                              JURISDICTION AND VENUE
25         6.     This Court has subject matter jurisdiction over this action pursuant
26   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
27         7.     This court has supplemental jurisdiction over Plaintiff’s non-federal
28   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
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 1   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 2   federal ADA claims in that they have the same nucleus of operative facts and
 3   arising out of the same transactions, they form part of the same case or controversy
 4   under Article III of the United States Constitution.
 5          8.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 6   real property which is the subject of this action is located in this district and because
 7   Plaintiff's causes of action arose in this district.
 8                                FACTUAL ALLEGATIONS
 9          9.     Plaintiff went to the Business on or about December 27, 2020 for the
10   dual purpose of purchasing a beverage and to confirm that this public place of
11   accommodation is accessible to persons with disabilities within the meaning federal
12   and state law.
13          10.    Unfortunately, although parking spaces were one of the facilities
14   reserved for patrons, there were no designated parking spaces available for persons
15   with disabilities that complied with the 2010 Americans with Disabilities Act
16   Accessibility Guidelines (“ADAAG”) on December 27, 2020.
17          11.    At that time, instead of having architectural barrier free facilities for
18   patrons with disabilities, Defendants’ facility has barriers that include but are not
19   limited to: an accessible parking area whose slope exceeds ADAAG specifications
20   (Section 502.4).
21          12.    Due to architectural barriers in violation of the ADA and ADAAG
22   specifications, the parking, paths of travel, and demarcated accessible spaces at the
23   Property are inaccessible.
24          13.    Parking spaces are one of the facilities, privileges, and advantages
25   reserved by Defendants to persons at the Property serving the Business.
26          14.    Because Defendant ARLAK, INC., a California corporation, owns the
27   Property, which is a place of public accommodation, they are responsible for the
28   violations of the ADA that exist in the parking area and accessible routes that
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 1   connect to the facility’s entrance that serve customers to the Business.
 2         15.    Subject to the reservation of rights to assert further violations of law
 3   after a site inspection found infra, Plaintiff asserts there are additional ADA
 4   violations which affect him personally.
 5         16.    Plaintiff is informed and believes and thereon alleges Defendants had
 6   no policy or plan in place to make sure that there was compliant accessible parking
 7   reserved for persons with disabilities prior to December 27, 2020.
 8         17.    Plaintiff is informed and believes and thereon alleges Defendants have
 9   no policy or plan in place to make sure that the designated disabled parking for
10   persons with disabilities comport with the ADAAG.
11         18.    Plaintiff personally encountered these barriers. The presence of these
12   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
13   conditions at public place of accommodation and invades legally cognizable
14   interests created under the ADA.
15         19.    The conditions identified supra are necessarily related to Plaintiff’s
16   legally recognized disability in that Plaintiff is substantially limited in the major life
17   activities of walking, standing, and ambulating; Plaintiff is the holder of a disabled
18   parking placard; and because the enumerated conditions relate to the use of the
19   accessible parking, relate to the slope and condition of the accessible parking and
20   accessible path to the accessible entrance, and relate to the proximity of the
21   accessible parking to the accessible entrance.
22         20.    As an individual with a mobility disability who relies upon a walker or
23   other mobility devices, Plaintiff has a keen interest in whether public
24   accommodations have architectural barriers that impede full accessibility to those
25   accommodations by individuals with mobility impairments.
26         21.    Plaintiff is being deterred from patronizing the Business and its
27   accommodations on particular occasions, but intends to return to the Business for the
28   dual purpose of availing himself of the goods and services offered to the public and
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 1   to ensure that the Business ceases evading its responsibilities under federal and state
 2   law.
 3          22.      Upon being informed that the public place of accommodation has
 4   become fully and equally accessible, he will return within 45 days as a “tester” for
 5   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
 6   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
 7          23.      As a result of his difficulty experienced because of the inaccessible
 8   condition of the facilities of the Business, Plaintiff was denied full and equal access
 9   to the Business and Property.
10          24.      The Defendants have failed to maintain in working and useable
11   conditions those features required to provide ready access to persons with
12   disabilities.
13          25.      The U.S. Department of Justice has emphasized the importance of
14   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
15   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
16   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
17   Coronavirus Disease 2019 (COVID-19) found at
18   https://www.ada.gov/aag_covid_statement.pdf.
19          26.      The violations identified above are easily removed without much
20   difficulty or expense. They are the types of barriers identified by the Department of
21   Justice as presumably readily achievable to remove and, in fact, these barriers are
22   readily achievable to remove. Moreover, there are numerous alternative
23   accommodations that could be made to provide a greater level of access if complete
24   removal were not achievable.
25          27.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
26   alleges, on information and belief, that there are other violations and barriers in the
27   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
28   notice regarding the scope of this lawsuit, once he conducts a site inspection.
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 1   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
 2   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
 3   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
 4   have all barriers that relate to his disability removed regardless of whether he
 5   personally encountered them).
 6         28.    Without injunctive relief, Plaintiff will continue to be unable to fully
 7   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
 8                               FIRST CAUSE OF ACTION
 9   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
10     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
11                                        (P.L. 110-325)
12         29.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
13   above and each and every other paragraph in this Complaint necessary or helpful to
14   state this cause of action as though fully set forth herein.
15         30.    Under the ADA, it is an act of discrimination to fail to ensure that the
16   privileges, advantages, accommodations, facilities, goods, and services of any place
17   of public accommodation are offered on a full and equal basis by anyone who owns,
18   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
19   Discrimination is defined, inter alia, as follows:
20                a.     A failure to make reasonable modifications in policies, practices,
21                       or procedures, when such modifications are necessary to afford
22                       goods, services, facilities, privileges, advantages, or
23                       accommodations to individuals with disabilities, unless the
24                       accommodation would work a fundamental alteration of those
25                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
26                b.     A failure to remove architectural barriers where such removal is
27                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
28                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
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 1                         Appendix "D".
 2                   c.    A failure to make alterations in such a manner that, to the
 3                         maximum extent feasible, the altered portions of the facility are
 4                         readily accessible to and usable by individuals with disabilities,
 5                         including individuals who use mobility devices, or to ensure that,
 6                         to the maximum extent feasible, the path of travel to the altered
 7                         area and the bathrooms, telephones, and drinking fountains
 8                         serving the area, are readily accessible to and usable by
 9                         individuals with disabilities. 42 U.S.C. § 12183(a)(2).
10          31.      Any business that provides parking spaces must provide accessible
11   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
12   shall be at the same level as the parking spaces they serve. Changes in level are not
13   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
14   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
15   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
16   designated disabled parking space is a violation of the law and excess slope angle in
17   the access pathway is a violation of the law.
18          32.      A public accommodation must maintain in operable working condition
19   those features of its facilities and equipment that are required to be readily accessible
20   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
21          33.      Here, the failure to ensure that accessible facilities were available and
22   ready to be used by Plaintiff is a violation of law.
23          34.      Given its location and options, Plaintiff will continue to desire to
24   patronize the Business but he has been and will continue to be discriminated against
25   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
26   the barriers.
27   ////
28   ////
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 1                              SECOND CAUSE OF ACTION
 2       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
 3         35.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 4   above and each and every other paragraph in this Complaint necessary or helpful to
 5   state this cause of action as though fully set forth herein.
 6         36.    California Civil Code § 51 et seq. guarantees equal access for people
 7   with disabilities to the accommodations, advantages, facilities, privileges, and
 8   services of all business establishments of any kind whatsoever. Defendants are
 9   systematically violating the UCRA, Civil Code § 51 et seq.
10         37.    Because Defendants violate Plaintiff’s rights under the ADA,
11   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
12   52(a).) These violations are ongoing.
13         38.    Plaintiff is informed and believes and thereon alleges that Defendants’
14   actions constitute discrimination against Plaintiff on the basis of a disability, in
15   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
16   previously put on actual or constructive notice that the Business is inaccessible to
17   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
18   inaccessible form, and Defendants have failed to take actions to correct these
19   barriers.
20                                          PRAYER
21   WHEREFORE, Plaintiff prays that this court award damages provide relief as
22   follows:
23         1.     A preliminary and permanent injunction enjoining Defendants from
24   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
25   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
26   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
27   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
28   under the Disabled Persons Act (Cal. C.C. §54) at all.
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 1         2.     An award of actual damages and statutory damages of not less than
 2   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
 3         3.     An additional award of $4,000.00 as deterrence damages for each
 4   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
 5   LEXIS 150740 (USDC Cal, E.D. 2016); and,
 6         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
 7   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
 8

 9                               DEMAND FOR JURY TRIAL
10         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
11   raised in this Complaint.
12

13   Dated: January 15, 2021                MANNING LAW, APC
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15                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
16                                       Attorney for Plaintiff
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